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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § MDL NO. 2179
“DEEPWATER HORIZON” §
in the GULF OF MEXICO § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
This Document Relates to: §
§
Thu M. Le, et al. v. § MAG. JUDGE SHUSHAN
BP PLC, etal §
EDLA No. 10-3172 §

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT IS HEREBY ORDERED that Plaintiffs’ THA! TRAN, BARBARA MAI, THAI
TRAN, HOANG THANH, PHUONG LUU, NAM DANG, XUAN DANG, HUNG DUONG,
HONG LE, and DEVAN PHAN’S Motion for Leave of Court to Voluntarily Dismiss
Claims Without Prejudice is hereby in all things is GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiffs’ THAl TRAN,
BARBARA MAI, THA] TRAN, HOANG THANH, PHUONG LUU, NAM DANG, XUAN
DANG, HUNG DUONG, HONG LE, and DEVAN PHAN only, as listed on Exhibit “A”
attached to said Motion are hereby dismissed without prejudice. This Order in no way
affects the claims of the remaining Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
